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                                                                                               07/03/2019

                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                        Charlottesville Division

  ELIZABETH SINES et al.,                            )
       Plaintiffs,                                   )       Civil Action No. 3:17-cv-00072
                                                     )
  v.                                                 )       ORDER TO DEFENDANT
                                                     )       ELLIOT KLINE
                                                     )
  JASON KESSLER et al.,                              )       By:        Joel C. Hoppe
            Defendants.                              )                  United States Magistrate Judge
                                                     )

            On July 2, 2019, the Court held a telephonic hearing on the record with Plaintiffs’

  counsel and pro se Defendant Elliot Kline1 to identify Kline’s outstanding discovery obligations,

  set a schedule for him to comply with those obligations, and discuss other procedural matters.

  See Order of June 21, 2019, at 2, ECF No. 508. Kline, who appeared and participated as directed,

  confirmed that he has received each of the Orders, discovery requests, and Stored

  Communications Act (“SCA”) consent forms that explain his outstanding discovery obligations.

  See id. at 2–4. Accordingly, Kline shall comply with the following steps and deadlines:

        1. Within seven (7) days from the date of this Order:

                a. Give Plaintiffs’ counsel a complete and accurate SCA consent form(s) allowing

                    Discord, Twitter, and any other social media provider to produce any

                    discoverable documents or electronically stored information (“ESI”) requested by

                    Plaintiffs’ counsel in this lawsuit. See Order of June 21, 2019, at 3; Order of Nov.

                    12, 2018, at 2, ECF No. 379.

                b. Execute the Third Party Discovery Vendor contract mentioned in the Stipulation

                    and Order for the Imaging, Preservation, and Production of Documents, ECF No.



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      Other Defendants also appeared and participated at the hearing.
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               383 (“Imaging Order”). See Order of June 21, 2019, at 3; Order of Mar. 4, 2019,

               at 2–3, ECF No. 440.

            c. Complete and give to Plaintiffs’ counsel the Certification Form attached as

               Exhibit A to the Imaging Order. See Order of June 21, 2019, at 3; Order of Mar.

               4, 2019, at 2–3.

     2. Within fourteen (14) days from the date of this Order:

            a. Make available to the Third Party Discovery Vendor for imaging and collection

               any Electronic Devices or Social Media Account credentials identified in the

               Certification Form. See Order of June 21, 2019, at 3; Order of Mar. 4, 2019, at 3.

               After the Discovery Vendor has collected all ESI responsive to the parties’

               agreed-upon search terms, the Court will set another deadline for Kline to review

               the results and produce all nonprivileged materials to Plaintiffs’ counsel. See

               Order of June 21, 2019, at 3 n.2.

     3. Within twenty-one (21) days from the date of this Order:

            a. Provide complete and accurate written answers to Plaintiffs’ First Set of

               Interrogatories. See Order of June 21, 2019, at 3 & n.2; Order of Mar. 26, 2018, at

               3, ECF No. 287.

            b. Provide complete and accurate written responses to Plaintiffs’ Requests for

               Production of Documents, and produce or permit inspection of any requested

               documents or ESI that were not collected by the Discovery Vendor. See Order of

               June 21, 2019, at 3 & n.2; Order of Mar. 26, 2018, at 3.

     4. On Wednesday, August 7, 2019, Kline shall sit for a deposition by Plaintiffs’ counsel

        devoted exclusively to his conduct in pretrial discovery, including his efforts to preserve



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        any documents, information, or materials that are potentially relevant to this litigation.

        See Order of June 21, 2019, at 4. The Court expects that Kline will participate in good

        faith as required by the Federal Rules of Civil Procedure and this Court’s prior discovery

        orders. See id. at 2. Plaintiffs are given leave to depose Kline in subsequent depositions

        on the merits of Plaintiffs’ allegations. Id. at 4; Fed. R. Civ. P. 30(a)(2)(A)(ii).

        It is so ORDERED.

        The Clerk shall send a copy of this Order to the parties.

                                                        ENTER: July 3, 2019



                                                        Joel C. Hoppe
                                                        U.S. Magistrate Judge




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